                          UNITED STATES DISTRICT COURT                                       FILED
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division
                                                                                          JUN 2 9 2009

FRANK L.   HINTON,       #26366-083,
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                          NORFOLK. VA
                            Petitioner,


v.
                                                            CIVIL ACTION NO.              2:09cv90


THE UNITED    STATES DISTRICT COURT
NORFOLK,   VA,    et al.,

                            Respondents.


     UNITED STATES MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

      This    matter      was     initiated       by    petition       for    writ      of    habeas

corpus.      The matter was referred to the undersigned United States

Magistrate       Judge    pursuant           to   the    provisions          of    28     U.S.C.     §

636 (b) (1MB)     and     (C) ,   Rule 72 (b)       of    the Federal Rules of Civil

Procedure, and Rule 72 of the Rules of the United States District

Court for the Eastern District of Virginia.                            For the reasons             set

forth herein,       the Court           recommends       that    the Court         exercise its

authority under 28 U.S.C. § 1631 to TRANSFER this petition for writ

of   habeas    corpus      to     the    United     States       District         Court      for   the

Northern District of West Virginia, it appearing that jurisdiction

would properly lie in that               court.

                             I.     STATEMENT OF         THE    CASE


                                        A.    Background


       Petitioner,       Frank L.       Hinton     ("Hinton"),         was convicted in the

United States District Court for the Eastern District of Virginia,

Norfolk Division.            On February 14,             1995,    United States District
Judge Raymond Jackson sentenced Hinton                  to   a prison     term of       100

months   after    pleading      guilty    to    one    count    of   possession        of   a

firearm by a convicted felon,            18 U.S.C.      § 922(g)(l).       18 U.S.C.        §

924 (a) (2) provides a maximum penalty of ten years in prison for the

crime in question - that is,            more than Hinton's 100 months.

       On February 26,       2009,     Hinton filed a petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2241.                    It is unclear at which

incarceration center Hinton was imprisoned at that time.                         On April

2,    2009,    however,      Hinton     filed   a     notice    of     address    change,

indicating that he is presently incarcerated at the United States

Penitentiary      -   Hazelton        ("Hazelton"),     in     Bruceton    Mills,      West

Virginia.

       As the petition was not accompanied by the required filing fee

or a request to proceed in forma pauperis,                       the Court requested

Hinton's      inmate account         information      from Hazelton       to     ascertain

whether petitioner should be required to pay a filing fee.

       On March 12, 2009,        the Court received and filed four motions

by Hinton:      two petitions for writ of habeas corpus,                   one petition

 for a writ of ad prosequendum, and one motion for a bond hearing.

These motions were filed on Hinton's trial docket, Criminal Action

No.    2:94crlO6.      The    Court DIRECTS         the Clerk     to   file    these    four

motions       {Doc. Nos.     65-68)    in the instant case,            Civil Action No.

 2:09cv90.
      On May 5, 2009,           the Court entered an order granting Hinton the

ability to proceed in              forma pauperis.              The order also directed

Hinton to file, within thirty               (30)   days of entry of the order,                an

original and two          (2)    copies of the petition on the correct forms.

A copy of this order was mailed to Hinton at Hazelton.                             On June 4,

2009, the Court filed Hinton's amended petition, which was received

with two     (2)    copies.

                                   B.   Grounds Alleged

      It     appears      that    Hinton    asserts        in    this    Court    that   he   is

entitled to         relief      because Judge Jackson misapplied the United

States Sentencing Guidelines and Sentencing Reform Act of 1984 when

he imposed the 100 month prison term upon Hinton and that Hinton

has already served the 100 month prison term.

                   II.   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       As an initial matter,             the Court must determine how to charac

terize Hinton's motions,                as venue for § 2241 and § 2255 petitions

differs.      Section 2241 cases must be filed in the district where the

custodian of the petitioner is located.                         United States v. Miller,

871 F.2d 488, 490 (4th Cir. 1989) .                 Section 2255 cases must be filed

in the court which imposes the sentence.                          28 U.S.C.       § 2255.     The

case is currently characterized as a 28 U.S.C.                           § 2241 petition on

 the docket.

       Hinton originally filed a petition for writ                         of habeas     corpus

 in   this    Court      on     February   26,     2009.        The     Court    received     four
additional motions on March 12, 2009, as noted above.                                         One of those

motions,    Docket No.          68 in the 2:94crlO6 case,                     is nearly identical

to   the petition         filed       on    February           26,    2009.        That       petition        is

rambling,       and it    is    difficult          to make           out what          arguments Hinton

presents in it.          It appears,            however,         that Hinton is arguing that

Judge Jackson misapplied the United States                               Sentencing Guidelines

when he sentenced Hinton.                       Generally,           such an argument does                 not

support § 2255 relief, but may support such relief given extraordi

nary   circumstances,           such       as   when       a   sentence       exceeds          a    statutory

maximum,        united States v.            Preaent,           190 F.3d 279,            283-84      (4th Cir.

1999) .    Hinton argues that he believed he would receive twenty-four

months     incarceration by                entering a           guilty plea,             and       that   Judge

Jackson's       sentence        of    100    was    excessive.            However,             18    U.S.C.    §

924 (a) (2) provides a maximum penalty of ten years in prison for the

crime in question -              that is,         more than Hinton's                    100 months.           It

therefore appears unlikely the Hinton's petition is cognizable as

a § 2255 claim.           While § 2255 is ordinarily the appropriate way to

challenge       a federal        conviction or sentence,                       §       2241    jurisdiction

exists when § 2255 provides no adequate remedy.                                          UL. at 284 n-6

Therefore,       Hinton's petition should be characterized as a §                                          2241

petition.

         The Court       also    received          three        other motions             from Hinton on

 March    12,    2009.         They    include         a       motion    for       a    bond       hearing,        a

 petition for a writ of ad prosequendum,                               and another petition for
writ    of habeas     corpus.         It    appears      that    these    three motions        all

argue that Hinton has already served the 100 month sentence and that

he should therefore be released.                   Challenges to the execution of a

sentence are properly §              2241 petitions.             See Miller.         871 F.2d at

490.     Therefore,     these three motions should be characterized as a

part of a claim under           §    2241.

        When Hinton was        transferred to Hazelton,                  the warden of        that

facility gained custody of Hinton.                       The proper respondent in a 28

U.S.C.    § 2241 case is the warden of the institution that exercises

custody over        the petitioner           at    the    time    the petition         is   filed.

Rumsfeld v. Padilla.          542 U.S. 426,         434-35 (2004).            Accordingly,      the

Court     ORDERS     that    the petition be             deemed       amended    to    substitute

Warden,     United States           Penitentiary - Hazelton,                 as Respondent,      in

place of Respondents The United States District Court Norfolk,                                   VA

and The United Marhsall's Service - Richmond,                           VA.

        Because service of process                 cannot be made on the Warden of

Hazelton within the Eastern District of Virginia, the Court does not

have personal jurisdiction over him.                     Bowers v. United States Parole

commission,        746 F.Supp.       617,    619   (E.D. Va.      1990).        See Chatman-Bey

v.     Thornburah,    864 F.2d 804,          810-14      (D.C.    Cir.    1988).       This Court

cannot     consider a petition               for writ      of    habeas       corpus   unless    it

 enjoys    personal         jurisdiction          over    the    petitioner's          custodian.

 Braden v.    30th Judicial           Circuit Court,            410   U.S.    484,    495   (1973),
Schlanaer v.           Seamans,      401      U.S.    487,    491    (1971).         Accordingly,         this


Court may not entertain Hinton's petition.

        Rather         than   dismiss         Hinton's       petition         without       prejudice,      so

that he might file it in the appropriate district,                                    it is recommended

that    the   Court          exercise        its    authority       under       28    U.S.C.    §   1631    to

transfer the petition.                   Section 1631 provides                  that a court lacking

jurisdiction may              transfer an action              to    a    court with         jurisdiction,

where    such      a    transfer        would be       in    the    interests         of    justice.       The

Court    notes         that   as   an    incarcerated pro               se    litigant,      Hinton would

face    significant            burdens,            including        the      costs     associated         with

producing and mailing copies of his petition,                                  were he forced to re-

file his petition in another District.

                                        III.       RECOMMENDATION


        As    it       appears       that       this       Court     cannot          exercise       personal

jurisdiction over Hinton's                     custodian,          and       that    it would serve        the

interests       of      justice,        it    recommends        that         the    Court    exercise      its

authority under 28 U.S.C.                     § 1631 to TRANSFER this petition for writ

of   habeas        corpus       to      the    United        States       District         Court    for    the

Northern District of West Virginia,                           it appearing that jurisdiction

would properly lie in that                     court.

                                        IV.    REVIEW        PROCEDURE


        By    copy      of    this      Report       and    Recommendation,            the     parties     are

notified that:
        1.    Any party may serve upon the other party and file with the

Clerk    specific          written     objections          to   the      foregoing      findings        and

recommendations            within     ten    (10)    days       from     the   date    of mailing of

this report to the objecting party,                        see 28 U.S.C.          § 636 (b) (1) <C)      and

Federal       Rule    of   Civil      Procedure       72(b),        computed pursuant              to   Rule

6(a)    of    the    Federal      Rules     of    Civil    Procedure,          plus   three    (3)      days

permitted       by    Rule     6(e)    of    said     rules.           A    party     may   respond       to

another party's specific objections within ten (10)                                  days after being

served with a copy thereof.


        2.     A    district      judge      shall    make      a   de     novo    determination          of


those portions of            this     report or specified findings or recommenda

tions    to which objection is made.

        The parties         are    further notified that                   failure    to    file    timely

objections to the findings and recommendations set forth above will

result       in a waiver of         the right        to appeal         from a       judgment of         this

Court based on such               findings        and recommendations.                Thomas v.         Am.

474    U.S.    140    (1985);      Carr v.        Hutto,    737     F.2d 433         (4th Cir.      1984),

cert,    denied,      474 U.S.        1019       (1985);    United States v.            Schronce,        727


F.2d 91       (4th Cir.),         cert,   denied,         467   U.S.       (1984).




                                                           United Stares Magistrate Judge


Norfolk,      Virginia

June 1P\ , 2009
